          CASE 0:18-cr-00234-JNE-HB Doc. 61 Filed 10/18/21 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

United States of America,

              Plaintiff,
                                                 Case No. 18-cr-234 (JNE/HB) (1)
v.
                                                 ORDER
Charles Winston,

              Defendant.


       This matter is before the Court on Defendant’s pro se motion to reduce his

sentence. ECF No. 60. The Court denies the motion for the reasons stated below.

       While serving a 108-month state sentence for a felony drug charge, Defendant

pleaded guilty to conspiring to engage in interstate transportation of stolen access devices

in violation of 18 U.S.C. § 371. ECF No. 29 at 1-4. This Court sentenced Defendant to

16 months’ imprisonment, to be served consecutively to Defendant’s unrelated state

sentence. ECF No. 53 at 1. This sentence varied below the Sentencing Guidelines range

of 30 to 37 months’ imprisonment, in recognition of the delay between the commission of

the crime and the date on which Defendant would begin serving his federal sentence.

       In November 2020, this Court considered and rejected Defendant’s motion for a

sentence reduction pursuant to 18 U.S.C. § 3582(c)(1)(A). See ECF No. 53. In that

motion, Defendant sought release from prison so that he could provide full-time care for

his ailing mother. The Court found that Defendant had not shown “extraordinary and

compelling” reasons to reduce Defendant’s sentence. The Court also determined that




                                             1
            CASE 0:18-cr-00234-JNE-HB Doc. 61 Filed 10/18/21 Page 2 of 3




reducing Defendant’s sentence to time served would be inconsistent with the general

sentencing factors at 18 U.S.C. § 3553(a).

       Defendant now asks the Court to “reverse” his sentence and impose a sentence of

time served, to run concurrently with his state sentence. ECF No. 60. “‘[A] judgment of

conviction that includes [a sentence of imprisonment] constitutes a final judgment’ and

may not be modified by a district court except in limited circumstances.” Dillon v.

United States, 560 U.S. 817, 824 (2010) (alterations in original) (quoting 18 U.S.C.

§ 3582(b)); 18 U.S.C. § 3582(c) (listing exceptions to the general rule of finality).

       Defendant has not informed the Court of any factual developments that would

change the Court’s previous analysis regarding his eligibility for a sentence modification

under 18 U.S.C. § 3582(c). Defendant speculates that “the outcome of [his] sentence

would’ve been different” if COVID-19 had been prevalent when he was sentenced in

December 2019. ECF No. 60. Defendant does not substantiate this assertion. Id. He

also notes a number of hardships that he has faced while serving his state sentence,

including the passing of his mother and missing his son’s high school graduation. Id.

While the Court is sympathetic to Defendant’s hardships, none of these circumstances

change the Court’s earlier analysis.

       The Court observes no other basis for vacating or amending Defendant’s sentence.

       Based on the files, records, and proceedings herein, and for the reasons stated

above, IT IS ORDERED THAT:

       1.      Defendant’s Motion to Reduce Sentence [ECF No. 60] is DENIED.




                                              2
        CASE 0:18-cr-00234-JNE-HB Doc. 61 Filed 10/18/21 Page 3 of 3




Dated: October 15, 2021
                                              s/ Joan N. Ericksen
                                              JOAN N. ERICKSEN
                                              United States District Judge




                                     3
